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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,
                                                          Case No.: 18-cv-3264
       Plaintiff,
                                                          Judge Manish S. Shah
v.
                                                          Magistrate Judge Jeffrey Cole
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

 Dismissal, without prejudice, as to Defendant Nos. 260, 286, 287, 382, 461, 466, 470, 474, 476,

 540, 810, 832 and 1051 on Schedule A with leave to reinstate within ninety (90) days if the

 agreed settlement payment is not received. After ninety (90) days, the dismissal is with

 prejudice.

 DATED: July 26, 2018                                Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     1033 South Blvd., Suite 200
                                                     Oak Park, Illinois 60302
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                                                     ATTORNEY FOR PLAINTIFF
   Case: 1:18-cv-03264 Document #: 70 Filed: 07/26/18 Page 2 of 2 PageID #:11438




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 26, 2018 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.




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